     Case: 1:22-cv-03998 Document #: 19 Filed: 09/22/22 Page 1 of 1 PageID #:113


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: DENA NATOUR FOR MINOR     Case Number: 22-cv-03998
            HADI ABUATELAH v. VILLAGE
            OF OAK LAWN, et al.
An appearance is hereby filed by the undersigned as attorney for:
Village of Oak Lawn and Chief of Oak Lawn Police Daniel Vittorio
Attorney name (type or print): Kevin M. Casey

Firm: Peterson, Johnson & Murray Chicago, LLC

Street address: 200 W. Adams, Suite 2125

City/State/Zip: Chicago, IL 60606

Bar ID Number: 6282635                                     Telephone Number: 312-724-8032
(See item 3 in instructions)

Email Address: kcasey@pjmlaw.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                           Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on September 22, 2022

Attorney signature:            S/
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
